UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JIANGSU HUARI WEBBING LEATHER CO.,
 LTD.,
                                  Plaintiff,                     23-cv-2605 (JLR)
                          -against-                              ORDER
 JOE IDENTIFIED IN SCHEDULE A,
                                  Defendant.

JENNIFER L. ROCHON, United States District Judge:
          On March 28, 2023, Plaintiff filed a Complaint (ECF No. 1), Motion to Seal (ECF No.
4), Motion for Alternative Service (ECF No. 5), and an Emergency Motion for Temporary
Restraining Order (ECF No. 6) that referenced documents filed in redacted forms and under
seal. No such documents were submitted for the Court to review. It is hereby ordered that by
Wednesday, March 29, 2023, Plaintiff shall file the following documents on the docket:
             •   Schedule A, Exhibit A, Exhibit B, Exhibit C, Exhibit D, Exhibit E, Exhibit F,
                 and Exhibit G,
             •   The Declaration of Jiyuan Zhang in connection with Plaintiff’s Complaint
                 dated March 27, 2023, and Exhibit D001 - Exhibit D162.

          Plaintiff may file any of these documents temporarily under seal for the Court’s
review.
          The Court will hold a video hearing on the Motion for a Temporary Restraining Order
on Friday, March 31, 2023 at 4:00 P.M. Plaintiff shall file on the docket contact
information for its counsel so that the Court may provide log-in information. The public
listen-only line may be accessed by dialing Toll-Free Number: 877-336-1831 and using the
Access Code: 5583342.
Dated: March 28, 2023
       New York, New York

                                                           SO ORDERED.


                                                           JENNIFER L. ROCHON
                                                           United States District Judge
